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                       Exhibit 11


Defendants’ Principle Place of Business




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 Corporations and Charities System                                                                                            10/28/23, 10:46 PM




BusinessCorporations
        Informationand
        Charities Filing System

       BUSINESS INFORMATION


                     Business Name: DEF CON                                            UBI Number: 601 960 672
                                             COMMUNICATIONS,
                                             INC.

                       Business Type: WA PROFIT                                     Business Status: ACTIVE
                                             CORPORATION

              Principal Oﬃce Street 51 W DAYTON ST STE                     Principal Oﬃce Mailing 51 W DAYTON ST STE
                               Address: 305, EDMONDS, WA,                                    Address: 305, EDMONDS, WA,
                                             98020-4111, UNITED                                          98020-4111, UNITED
                                             STATES                                                      STATES

                     Expiration Date: 06/30/2024                                         Jurisdiction: UNITED STATES,
                                                                                                         WASHINGTON

           Formation/ Registration 06/11/1999                                   Period of Duration: PERPETUAL
                                     Date:

                        Inactive Date:                                          Nature of Business: ANY LAWFUL
                                                                                                         PURPOSE, COMPUTER
                                                                                                         SECURITY -
                                                                                                         COMPUTER SECURITY
                                                                                                         CONFERENCE



       REGISTERED AGENT INFORMATION


             Registered Agent JEFFREY C MCNAMARA
                           Name:


               Street Address: 51 WEST DAYTON ST                             Mailing Address: 51 WEST DAYTON ST
                                       STE 305, EDMONDS,                                            STE 305, EDMONDS,
                                       WA, 98020-0000,                                              WA, 98020-0000,
                                       UNITED STATES                                                UNITED STATES

 https://ccfs.sos.wa.gov/?_gl=1*172z7w3*_ga*NzM2NTQ2MzAyLjE2OTg1…jAuMTY5ODU1Nzk3OS4wLjAuMA..#/BusinessSearch/BusinessInformation     Page 1 of 2


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Corporations and Charities System                                                                                            10/28/23, 10:46 PM




      GOVERNORS


         Title                      Governors Type             Entity Name                First Name             Last Name

         GOVERNOR                   INDIVIDUAL                                            JEFF                   MOSS




         Back                              Filing History       Name History            Print       Return to Business Search




https://ccfs.sos.wa.gov/?_gl=1*172z7w3*_ga*NzM2NTQ2MzAyLjE2OTg1…jAuMTY5ODU1Nzk3OS4wLjAuMA..#/BusinessSearch/BusinessInformation     Page 2 of 2


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                                                                             MCNAMARA
                                                                             LAW

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      Mediation.                                                             Je!@jcmclaw.com
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      Subject: *


      Message: *




      Attachment:
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      98020, Phone 206-351-7596




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               to post a comment.




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